Case 2:OO-CV-02923-SH|\/|-egb Document 267 Filed 08/03/05 Page 1&01°4 Page|D 449

FILED BY llL_L_ p_c._

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIvIsIoN 05 AUG -3 PH 51 20
I`"- '
EQUAL EMPLOYMENT 0PP0RTUNITY TW:§“§§WTF;WLDCGM
coMMISSIoN, and J ~rPH¢S
coNsTANCE AMoS,
Plaintiffs,
vs. No. 00-2923-Ma

AUTOZONE, INC.,

Defendant.

 

ORDER GRANTING MOTION TO EXCEED PAGE LIMITATION

 

Before the court is the defendant’s July 29, 2005, motion to
file a response in opposition to motion in limine, which is in
excess of the Local Rule 7.1 page limitation. For good cause
shown, the motion is granted and Autozone may file its response
in excess of twenty pages.

It is so ORDERED this 3

day of August, 2005.

J/V/’H/L__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

`= oomn“.el:*. entered on the dock t eh£e'st in compiiarac.e
witt Ru's se andfor ?9(3) FF+L`.P on §§ ___ L@_ .

 

F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 267 in
case 2:00-CV-02923 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

Terry L. Beck

EQUAL E1\/1PLOY1\/[ENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/1emphis7 TN 38104

Jeffrey Bannon

EQUAL E1\/1PLOY1\/[ENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste 621

1\/1emphis7 TN 3 8104

Tracy K. Hidalgo

FRILOT PARTR]DGE KOHNKE & CLEMENTS
1100 Poydras Street

NeW Orleans7 LA 70163

Deidre Smith

EQUAL E1\/1PLOY1\/[ENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/1emphis7 TN 38104

Walter W. Christy

FRILOT PARTR]DGE KOHNKE & CLEMENTS
1100 Poydras Street

NeW Orleans7 LA 70163

Thomas J. Borek

EQUAL E1\/1PLOY1\/[ENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/1emphis7 TN 38104

Leslie W. Ehret

FRILOT PARTR]DGE KOHNKE & CLEMENTS
1100 Poydras Street

NeW Orleans7 LA 70163

Case 2:OO-cV-02923-SH|\/|-egb Document 267 Filed 08/03/05 Page 3 of 4

Ellen Shirer Kovach

FRILOT PARTR]DGE KOHNKE & CLEMENTS
1100 Poydras Street

NeW Orleans7 LA 70163

Jef Feibelman

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Katharine W. Kores

EQUAL E1\/1PLOY1\/[ENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/1emphis7 TN 38104

GWendolyn Young Reams

EQUAL E1\/1PLOY1\/[ENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/1emphis7 TN 38104

Madeline D. West

FRILOT PARTR]DGE KOHNKE & CLEMENTS
1100 Poydras Street

NeW Orleans7 LA 70163

Celia S. Liner

EQUAL E1\/1PLOY1\/[ENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/1emphis7 TN 38104

Lisa A. Krupicka

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

C. Gregory SteWart

EQUAL E1\/1PLOY1\/[ENT OPPORTUNITY COMMISSION
1801 L. Street, N.W.

Room 7054

Washington, DC 20507

Reva M. Kriegel

LAW OFFICE OF REVA 1\/1. KRIEGEL
266 S. Front St.

Ste. 206

1\/1emphis7 TN 38103

Page|D 451

Case 2:OO-cV-O2923-SH|\/|-egb Document 267 Filed 08/03/05 Page 4 of 4 Page|D 452

Honorable Samuel Mays
US DISTRICT COURT

